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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

In re:                                             )
                                                   )
MARTHA LUCIA TABARES,                              ) Bankruptcy No. 14-14476-BFK
                                                   )
                                                   ) Chapter 11
               Debtor.                             )
                                                   )


                    OBJECTION OF WELLS FARGO BANK, N.A.
              TO THE DEBTORS’ AMENDED PLAN OF REORGANIZATION

         Wells Fargo Bank. N.A., (the “Bank”) by its undersigned counsel, files this Objection to

the Debtors’ Amended Plan of Reorganization, and in support thereof avers as follows:

                                         BACKGROUND

         1.      Martha Lucia Tabares (the “Debtor”) is an adult individual who resides at 8095

Paper Birch Drive, Lorton, Virginia 22079.

         2.      The Debtor filed for relief under Chapter 11 of Title 11 of the United States Code

on December 3, 2014 (the “Petition Date”).

         3.      Since the Petition Date, the Debtor has remained in possession of her assets and

have acted as debtor-in-possession with all the rights and powers of a trustee pursuant to 11

U.S.C. § 1107.

 Melissa M. Watson Goode, VSB #73516
 Robyn D. Pepin, VSB #77784
 Kelly Rae Gring, VSB #75999
 Glasser and Glasser, P.L.C.
 Crown Center, Suite 600
 580 East Main Street
 Norfolk, Virginia 23510
 (757) 625-6787
 Attorneys for Wells Fargo Bank. N.A.
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       4.       The Debtor is obligated to the Bank pursuant to an Equity Line of Credit

Agreement and Disclosure Statement dated February 19, 2005 in the original principal amount of

$100,000.00 (the “Note”).

       5.      The Note is secured by a Deed of Trust dated February 19, 2005, executed and

delivered to the Bank by the Debtor (the “Deed of Trust”) and granting the Bank a lien on the real

property located at 5926 Kimble Court, Fall Church, VA 22041(the “Mortgaged Premises”) which

was recorded on March 16, 2005 at Instrument Number 2005010712009 in the Fairfax County

Records.

       6.      The Bank filed a secured Proof of Claim on June 3, 2015 at Claim Number 6 (the

“Proof of Claim”), further Amended by a secured Proof of Claim filed on June 3, 2015 (the

“Amended Proof of Claim”), in the amount of $134,219.64 plus accruing interest, plus costs,

fees and expenses, including attorney fees and costs accruing and incurred both before and after

the Petition Date.

       7.      On August 24, 2015, the Debtor filed her Disclosure Statement (“Disclosure

Statement”) and Plan of Reorganization (the “Plan”).

       8.       On November 20, 2015, the Debtor filed an Amended Disclosure Statement

(“Amended Disclosure Statement”) and Amended Plan of Reorganization (the “Amended Plan”).

       9.      On December 20, 2015, this Honorable Court entered an Order Approving the

Amended Disclosure Statement and setting a hearing on final approval of the Plan for February

2, 2016 at 1:30 p.m., with objections to the Plan due on or before January 22, 2016.

                                   OBJECTION TO PLAN

      10.      Bankruptcy Code section 1129(a) provides that the Court shall confirm a plan of

   reorganization only if the requirements of all of the subsections of section 1129(a) are met.
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   Section 1129(b) further provides that, where an impaired class of claims has voted to reject a

   plan and all other applicable requirements of section 1129(a) are met, the plan may be

   confirmed only if it “does not discriminate unfairly, and is fair and equitable, with respect to

   each class of claims . . . that is impaired under, and has not accepted, the plan.”

      11.     The Plan proposes to value the property and strip off or cramdown the Bank’s

   secured claim.

      12.     With respect to the Bank, the Debtor’s Plan provides that any portion of the

   Bank’s claim determined to be secured by the Court’s valuation shall be modified,

   reamortized over 360 months at an annual interest rate of 4.00%. Any remaining balance of

   Wells Fargo Bank N.A.’s claim will be treated as unsecured under Class 11.

      13.     The Debtor valued the Mortgaged Premises at $514,490.00 in her Schedules, but

   has not otherwise put forth any proposed valuation amount or provided any evidence of

   interior appraisals on the Mortgaged Premises. It is submitted that it is the Debtor’s burden to

   prove value in this matter.

      14.     The Mortgaged Premises are subject to a first lien by Wells Fargo Bank, N.A.

   Wells Fargo Bank, N.A. filed a proof of claim in the Debtor’s Chapter 11 case at Claim #7 in

   the amount of $479,482.10.

      15.     The Mortgaged Premises are subject to a second lien of Wells Fargo Bank, N.A.

   Wells Fargo Bank, N.A. filed a proof of claim in the Debtors’ Chapter 11 case at Claim #13

   in the amount of $134,219.64.

      16.     The total liens on the Mortgaged Premises total $613,701.74 and the Debtor’s

   Schedules value the Mortgaged Premises at $514,490.00.
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       17.     Accordingly, there is equity in the Mortgaged Premises for the Bank’s Lien to

   attach and thus the Bank is at least partially secured in the approximate amount of

   $35,007.90.

       18.     Based on the Debtor’s value of the Mortgaged Premises the Bank is entitled to at

   a minimum a secured claim in the amount of $35,007.90 and an unsecured claim to the extent

   that the value of the Mortgaged Premises leaves any portion of the Bank’s claim without

   equity.

       19.     The Plan is not fair and equitable because it does not provide for the proper

   treatment of the Bank’s Proof of Claim.

       20.     The Plan is also not fair and equitable because it does not provide that the Bank

   will retain its lien on the real property, nor does the Plan make any proposal regarding the

   payment of taxes and insurance due on the Mortgaged Premises.

                                        CONCLUSION

       21.     For the reasons set forth above and other reasons that may be shown at the

   hearing on confirmation, the Amended Plan of Reorganization should not be confirmed.

       WHEREFORE, Wells Fargo Bank. N.A. respectfully requests that the Court deny

confirmation of the Amended Plan of Reorganization and that the Court grant Wells Fargo Bank.

N.A. such other relief as the court deems just and proper.


                                             WELLS FARGO BANK. N.A.


                                             By /s/ Melissa M. Watson Goode
                                                       Of Counsel
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                                  CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a copy of the Objection to the Amended Plan of
Reorganization was served on the following parties via email though the Court’s ECF Notification
System on January 22, 2016:

Ronald J. Drescher, Attorney for Debtor            U.S. Trustee
4 Reservoir Circle                                 Office of the U.S. Trustee
Suite 107                                          Region 4
Baltimore, MD 21208                                115 South Union Street, Room 210
                                                   Alexandria, VA 22314


And the following parties via regular U.S. Mail:


Martha Lucia Tabares, Debtor
8095 Paper Birch Drive
Lorton, VA 22079




                                                   /s/ Melissa M. Watson Goode
                                                   Melissa M. Watson Goode, VSB #73516
                                                   Robyn D. Pepin, VSB #77784
                                                   Kelly Rae Gring, VSB #75999
                                                   Glasser and Glasser, P.L.C.
